                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                DOCKET NO. 3:02-cr-00190-FDW


 UNITED STATES OF AMERICA,                           )
                                                     )
         vs.                                         )
                                                     )
 HECTOR RUBEN MCGURK,                                )                     ORDER
                                                     )
                 Defendant.                          )
                                                     )

        THIS MATTER comes now before upon Court on Defendant's Pro Se “Motion for Relief

from a Final Judgment/Order” (Doc. No. 201).

        Defendant’s direct appeal of his conviction and sentence is currently pending before the

United States Court of Appeals for the Fourth Circuit. Meanwhile, Defendant has filed the instant

motion alleging fraud, fraud on the court, misconduct, and misrepresentation by the government

during his trial. This motion is most properly construed as a Motion to Vacate or Set Aside Sentence

pursuant to 28 U.S.C. § 2255. The Fourth Circuit has stated, in an unpublished opinion, that while

a District Court is not without jurisdiction to consider such a petition at this time, “a § 2255 motion

is generally not heard where a direct appeal is pending, except in ‘exceptional circumstances.’” U.S.

v. Williams, Nos. 96-7125, 96-7373, 1997 WL 158112, at *1 (4th Cir. Apr. 4, 1997) (quoting Bowen

v. Johnson, 306 U.S. 19, 26-27 (1939)). The court clarified its position in another unpublished

opinion, stating that a § 2255 petition is “ripe for disposition” only after a decision is final on direct

appeal. Walker v. Connor, No. 02-7459, 2003 WL 21660483, at *1 (4th Cir. July 16, 2003).

Defendant has failed to suggest the existence of any exceptional circumstance warranting deviation

from this established rule. Defendant may be able to present his claims for fraud, etc., to the Fourth



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Circuit during his direct appeal. Until the conclusion of that appeal, Defendant's motion is premature

and is therefore DISMISSED without prejudice.

       IT IS SO ORDERED.                          Signed: August 11, 2008




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